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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,               :

         Plaintiff,

  VS.                                    : CASE NO. 12-20071-CR-SEITZ


  FRANCISCO CUBERO,                  :

        Defendant.
  _______________________/

                MOTION FOR COURT RECOMMENDATION
                TO BUREAU OF PRISONS AS TO PLACEMENT

         COMES NOW, the Defendant, FRANCISCO CUBERO, by and through his

  undersigned counsel, and files this Motion for Court Recommendation to Bureau of

  Prisons as to Placement and in support states the following:

         1. The Defendant was sentenced on Wednesday, December 21, 2012 and the

  Sentencing Minutes (DE 59) do not reflect a placement recommendation by the Court.

  Defendant had previously requested, in the Objections to Presentence Investigation Report

  (DE 36), that the Court recommend, to the Bureau of Prisons, placement in a facility in

  South Florida. This, of course, is only a recommendation, if available, and according to

  Defendant’s classification.

         2. Counsel’s recollection is that this was requested at last Wednesday’s sentencing.

  However, if counsel failed to request it then this motion is solely for the purpose of asking

  the Court to make said recommendation and include it in the Judgment In a Criminal Case.
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          WHEREFORE, the Defendant, FRANCISCO CUBERO, requests that this Court,

  in the Judgment, recommend to the Bureau of Prisons a facility as close to South Florida as

  possible.

                                              Respectfully submitted,

                                              MANUEL GONZALEZ, JR., ESQ.
                                              Attorney for Defendant
                                              2000 Ponce De Leon Blvd.
                                              Suite 614
                                              Coral Gables, Florida 33134
                                              (305) 444-1400
                                              (305) 938-5009 (FAX)

                                              BY: _/s/Manuel Gonzalez, Jr.___________
                                                  MANUEL GONZALEZ, JR., ESQ.
                                                  mannylaw7@yahoo.com




                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was

  electronically filed with the Clerk of Court using CM/ECF, this 26th day of November,

  2012.




                                              BY: _/s/Manuel Gonzalez, Jr.___________
                                                  MANUEL GONZALEZ, JR., ESQ.
                                                  FLORIDA BAR NO. 397997



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